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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 1:23-md-03076-KMM

    IN RE:

    FTX CRYPTOCURRENCY EXCHANGE
    COLLAPSE LITIGATION
    __________________________________________________

    THIS DOCUMENT RELATES TO BANK DEFENDANTS
    ___________________________________________________/

           ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL FOR
       DEFENDANTS DELTEC BANK AND TRUST COMPANY AND JEAN CHALOPIN

             The Court, having reviewed and considered the Motion of Mallory M. Cooney and K&L

    Gates LLP’s to Withdraw as Counsel for Defendants Deltec Bank and Trust Company and Jean

    Chalopin, hereby ORDERS AND ADJUDGES:

             The Motion is GRANTED. K&L Gates LLP, including Mallory M. Cooney, Esq., are

    permitted to withdraw as counsel of record for Defendants Deltec Bank and Trust Company and

    Jean Chalopin, and shall no longer have any responsibilities in this matter.

             The Clerk of the Court shall remove Mallory M. Cooney, Esq. and K&L Gates LLP from

    the ECF System in this action.

             DONE AND ORDERED, in Chambers, this ____ day of January, 2024.


                                          ________________________________________________
                                          HONORABLE K MICHAEL MOORE
                                          UNITED STATES DISTRICT JUDGE
    Copies to all counsel of record




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